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DEFENDANT: Dashae Eugene ARMSTRONG

YEAR OF BIRTH: 1994        AGE: 23

ADDRESS: 1520 N Trenton St #201, Denver, CO 80220

OFFENSE: COUNT 1: FELON IN POSSESSION OF AMMUNITION, IN VIOLATION
         OF 18 U.S.C. § 922(g)(1)



LOCATION OF OFFENSE
(County and State): DENVER COUNTY, COLORADO

PENALTY:     COUNT 1:

AGENT/DEPUTY: RYAN MCKONE, ATF SPECIAL AGENT

AUTHORIZED BY: CELESTE RANGEL, ASSISTANT UNITED STATES ATTORNEY

ESTIMATED TIME OF TRIAL:

  X    five days or less            over five days           other

THE GOVERNMENT

   X   Will seek detention in this case based on 18 U.S.C. § 3142(f)(1).

       Will not seek detention.

The statutory presumption of detention is not applicable to this defendant.


OCDETF case: _____ Yes            __X___ No
